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                Exhibit A
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The Wayback Machine - https://web.archive.org/web/20130814000419/http://www.nfl.com/help/subscriptions_terms




Search NFL.com                 Search
Welcome, {user}
MANAGE
MY ACCOUNT
My Profile
Log Out
Link Facebook
Link Twitter
Loading…
Sign In | Register
Fantasy Football
Close
my fantasy
fantasy
Fantasy Home
Fantasy 2013
Perfect Challenge
Fantasy Genius
Weekly Pick'Em
TNF Challenge
Help
news & research
Expert Analysis
Draft Kit
Cheat Sheet App
Player Rankings
Research
Blog
Player Projections
More

Player News
Scoring Leaders
Points Against
Player Trends
Fantasy Live
Inactives
Injury Report




News & Media
Close
news
Around the League
NFL Draft 365
NFL Evolution
Transactions
Injury Reports
Team News
features
The NFL Season
Fan Pass
Underrated/Overrated
Greatest Football Movie
How Well Do You Know?
Summer of Rank
Name the Play
blogs
Rich Eisen
Dave Dameshek
NFL Network
NFL Films
Fantasy
Pro Days
More

Sidelines
Players Only
photos
Photo Galleries
Photo Essays
writers
Writers Pages

Daniel Jeremiah
Bucky Brooks
Jeff Darlington
Steve Wyche
Albert Breer
Elliot Harrison
Brian Billick

Gil Brandt
Michael Fabiano
Gregg Rosenthal
Aditi Kinkhabwala
Ian Rapoport
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Kimberly Jones
Adam Schein
podcasts
Podcasts Home
The Rich Eisen Podcast
The Dave Dameshek Football Program
The NFL Around the League Podcast
Double Coverage
NFL Draft 365
NFL Fantasy Live Podcast
Video
Close
videos
Video Home
Game Highlights
All Videos
teams
Team Channels
channels
Countdowns
N 'iF' L
Can't-Miss Plays
Drive Of The Week
The Season
Movie Trailers
Built For Training
More

Game Previews
Best of 2012
Never Say Never...
Rookie Spotlight
Air & Ground NF...
X-Factors
Fan Pass

Locker Room MVPs
The Shame Report
On The Beat
Ultimate Audio
Video Diaries
Interviews
NFL Rush

Tools for Victory
First Draft
All-Access Facility...
NFL Gives Back
shows
NFL AM
NFL Total Access
NFL GameDay
Playbook
Sound FX
Top 100 Players of ...
Path to the Draft
More

Fantasy
FantasyTeam Previews
NFL RedZone
A Football Life
The Coaches Show
Game of the Week
America's Game

Around the League Live
NFL Films Presents
Sound FX
Anatomy of a Play
Hard Knocks
NFL Top Ten
nfl.com/live
Fantasy Live
Combine Live
nfl films
NFL Films Home
events
Draft
More

Minicamps
2012 Super Bowl Com...
Training Camps
Hall of Fame
Preseason
Kickoff
Thanksgiving

Thursday Night Foot...
Playoffs
Super Bowl
Pro Bowl
Free Agency
Combine
Senior Bowl

International Series
Rookie Symposium
NFL Honors
on Mobile
NFL Mobile
subscription video
Game Pass
Preseason Live
Game Rewind
NFL Network Online
Watch NFL
Watch NFL Network
Watch NFL RedZone
Schedules
Close
scores
Weekly Scores
standings
Division
Conference
League
Playoff Picture
schedules
                                     Case 1:21-cv-01032-PAE Document 51-1 Filed 10/13/21 Page 4 of 9
Preseason
Regular Season
Team Schedules
stats
Stats Home
Team Stats
Weekly Leaders
Milestone Tracker
Top Performers
players
By Name
By Position
By Team Roster
Historical Players
history & rules
NFL History
NFL Rule Book
team info
Select Team
Team Profile
Roster
Depth Chart
Transactions
Injury Reports
Coaches
Fans
Close
fan community
Fans Home
my profile
My Profile
Edit Profile
Shout-outs
Activity
Friends
Settings
NFL Fan Rewards
My Rewards
Rewards Store
Leaderboards
Achievements
About NFL Fan Rewards
FAQs
facebook
Link Account
NFL on Facebook
Like NFL.com
Teams Facebook
twitter
Link Account
NFL on Twitter
Follow NFL.com
Teams Twitter
Watch NFL Games Live
Close
Game Pass
Watch every NFL Game live or on-demand.
LEARN MORE
Game Rewind
Watch full NFL games online and on-demand.
LEARN MORE
Preseason Live
Watch NFL Preseason games live online.
LEARN MORE
Audio Pass
Listen to live NFL game radio broadcasts online.
LEARN MORE
Network Online
Watch the NFL Network live online.
LEARN MORE
mobile
NFL.COM Mobile
NFL '13 App
NFL Fantasy App
Super Bowl XLVII App
TV & Radio
NFL Sunday Ticket
Get NFL Network
NFL RedZone Channel
Sunday Night Football Extra
NFL Sunday Drive
Dial Global Radio
Events
Close
2013 Training Camp




Training Camp Coverage
Training Camp Schedule
Watch Inside Training Camp
Training Camp Photos
league schedule
Training Camp JUL 24
Kickoff SEP 05-10
International Series SEP 29
International Series OCT 27
Thanksgiving NOV 28
Playoffs JAN 04-19
Senior Bowl JAN 25
Pro Bowl JAN 26
NFL Honors FEB 01
Super Bowl XLVIII FEB 02
2013 Scouting Combine FEB 23-26
2013 NFL Draft APR 25-27
Tickets
Close
get tickets
NFL Ticket Exchange
NFL On Location
Super Bowl XLVII
NFL International Series
Shop
                            Case 1:21-cv-01032-PAE Document 51-1 Filed 10/13/21 Page 5 of 9
Close
NFL Shop
Shop by Team
Jerseys
Men's
Women's
Kids'
Hats
Big & Tall
Collectibles
Home & Office
Tailgating
DVDs
Custom Shop
BCA Products
More
NFL Auction
Photo Store
NFL Films Downloads




ON NFL NETWORK: NFL TOTAL ACCESS 7:00 PM ET
network info
NFL Network Home
Thursday Night Football
Network Schedule
NFL RedZone
Get NFL Network
Watch Online
Keep Gym in School
shows
NFL AM
NFL Total Access
NFL GameDay
Around the League Live
Sound FX
The Coaches Show
Talent
Rich Eisen
Deion Sanders
Michael Irvin
Marshall Faulk
Kurt Warner
More
NFL Network
NFL.com/español
Optimizado por UnivisionDeportes.com
En Español
mobile web
NFL.com Mobile Site
NFL.com Fantasy Mobile Site
mobile apps
NFL Mobile
NFL '13
Fantasy Mobile
Fantasy Cheat Sheet
Super Bowl XLVII
All Mobile Apps
mobile games
NFL Flick Quarterback
NFL Flick Kicker
NFL Rivals
Mobile
 The Wayback Machine - https://web.archive.org/web/20130814000439/http://www.nfl.com/partner/scorestrip




   Subscription Products Terms and Conditions

   Effective Date: June 8, 2012
   Updated: July, 29 2013

   The following Subscription, Authentication and Mobile Products Terms and Conditions govern your use of the subscription,
   authentication and mobile products offered by the NFL from time to time. These Subscription, Authentication and Mobile Products
   Terms and Conditions supplement the Web site Terms and Conditions, which can be found at www.NFL.com/help/terms and are
   incorporated herein by reference. All defined terms not otherwise defined herein have the meaning ascribed to them in the Web Site
   Terms and Conditions.

   The NFL is currently offering the following subscription, authentication and mobile products:
                           Case 1:21-cv-01032-PAE Document 51-1 Filed 10/13/21 Page 6 of 9
(a) NFL Audio Pass (access to live and archived audio of every NFL preseason, regular season and post-season games);

(b) NFL Game Pass (access to live and archived video NFL preseason and regular season games);

(c) NFL Game Rewind (access to a video archive of NFL regular season games);

(d) NFL Preseason Live (access to live and archived video of NFL preseason games);

(e) NFL Sunday Ticket Online (access to live online video of Sunday NFL game broadcasts);

(f) NFL Network Online (access to live online video streaming of the NFL Network); and

(g) NFL RedZone Online (access to live and archived video of NFL RedZone broadcast)

((a) – (g) collectively, the "Subscription Products");

(h) NFL Network and NFL RedZone Authentication Products (access to live online streaming of NFL Network and NFL RedZone
available to customers who subscribe to NFL Network and NFL RedZone with certain authorized television providers) (the
"Authentication Products", and together with the Subscription Products, the "Products"); and

(i) NFL Mobile, NFL '13 and other NFL mobile applications on smartphones and tablets.

We have contracted with a third party (currently NeuLion, Inc.) to operate the above listed Subscription Product, on our behalf.

1. Access to the Subscription Products and Authentication Products

Access to certain of the Subscription Products is limited to residents of certain geographical territories, as follows:

(a) NFL Game Pass is only available to users located outside the United States, Mexico, Bermuda, Antigua, the Bahamas, and any
U.S. territories, possessions and commonwealths (including American Samoa, Guam, Puerto Rico and the U.S. Virgin Islands
(collectively, the "NFL Game Pass Excluded Territories"). You are not authorized to use NFL Game Pass if you are located in any of
the NFL Game Pass Excluded Territories, and you agree not to access or attempt to access NFL Game Pass from any of the NFL
Game Pass Excluded Territories.

(b) NFL Game Rewind is restricted to users located within the United States, Bermuda, Antigua, the Bahamas, and any U.S. territories,
possessions and commonwealths (including American Samoa, Guam, Puerto Rico and the US Virgin Islands). All other areas are
excluded territories (the "NFL Game Rewind Excluded Territories"). You are not authorized to use NFL Game Rewind if you are located
in any of the NFL Game Rewind Excluded Territories, and you agree not to access or attempt to access NFL Game Rewind from any
of the NFL Game Rewind Excluded Territories.

(c) NFL Preseason Live is only available to users located within the fifty United States and the District of Columbia. All other areas are
excluded territories (the "Preseason Live Excluded Territories"). You are not authorized to use Preseason Live if you are located in any
of the Preseason Live Excluded Territories, and you agree not to access or attempt to access Preseason Live from any of the
Preseason Live Excluded Territories.

(d) NFL Sunday Ticket Online is only available to users who are current residents of Canada and that are presently subscribers of NFL
Sunday Ticket on Television through Bell, Shaw Direct, Shaw, or SaskTel (the "NFL Sunday Ticket Online Territory"). You may only
access NFL Sunday Ticket Online if you are located in the NFL Sunday Ticket Online Territory. You agree not to access or attempt to
access NFL Sunday Ticket Online from any location outside of the NFL Sunday Ticket Online Territory.

(e) NFL Network Online is only available to users located outside the United States, Canada, Mexico, and any U.S. territories,
possessions and commonwealths (including American Samoa, Guam, Puerto Rico and the U.S. Virgin Islands (collectively, the "NFL
Network Online Excluded Territories"). You are not authorized to use NFL Network Online if you are located in any of the NFL Network
Online Excluded Territories, and you agree not to access or attempt to access NFL Network Online from any of the NFL Network
Online Excluded Territories.

(f) The NFL Mobile and NFL '13 mobile applications are available to all mobile users on a cross-carrier basis. However, certain content
contained in the NFL Mobile application shall be exclusive to Verizon Wireless customers.

Further, access to the NFL Network and NFL RedZone Authentication Products is only available in the United States to subscribers of
NFL Network and NFL RedZone who have an account in good standing with an authorized distributor of NFL Network and NFL
RedZone.

2. Registration, Username, Password, Security

(a) Registration. Registration is required for the use of the Products. We will not grant any user access to the Products unless he or
she has completed the necessary registration and paid the fees, if any, associated with access to such Products.

(b) Username and Password. Your username and password will be your identity for purposes of accessing the Products.

3. Special Terms and Conditions Applicable to Subscription Products

We reserve the right to modify the price of any Subscription Product. We are not responsible for any error in copy or images relating to
any Subscription Product. The specific Subscription Products and range of payment options (e.g., season, monthly) offered each NFL
season may change in our sole discretion.

In order to purchase a Subscription Product, you may be required to provide complete and accurate personal information, including,
without limitation, your name, address, telephone number, e-mail address, credit card information and billing address. Our Privacy
Policy explains how such information collected via the Site may be used by us. Your ability to purchase Subscription Products is
subject to limits established by your credit card issuer. You must notify us immediately of any change in your credit card information,
including any change to your home address. By utilizing a credit or debit card for purchase of any of the Products offered for purchase
                         Case 1:21-cv-01032-PAE Document 51-1 Filed 10/13/21 Page 7 of 9
through the Site, you authorize us to charge such card on a periodic basis as specified in the amount described on the applicable
Subscription Product purchase path(s).

Billing and Automatic Renewal Policies for Certain Subscription Services

(a) For NFL Audio Pass - Monthly Subscription, the term begins when you purchase and ends on March 31 of that year, with monthly
billing during each month of August-March at the then prevailing monthly rate. Your subscription will automatically renew on
approximately August 1 of each subsequent year and end on approximately March 31 of each subsequent year, with monthly billing
resuming during each month of August - March at the previous year's published rate, unless you cancel your monthly subscription in
accordance with the applicable instructions. To cancel your monthly subscription, you can send an e-mail to
subscription.support@NFL.com, call customer support at (407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a
customer support representative at NFL.com/subscriptionsupport, or use the online form found on your "My Account" page.
Cancellation will become effective as of the next monthly billing cycle following receipt.

(b) For NFL Network Online - Monthly Subscription, the term begins when you purchase, with monthly billing during each month of the
year. Your subscription will automatically renew each month, unless you cancel your monthly subscription in accordance with the
applicable instructions. To cancel your monthly subscription, you can send an e-mail to nflnonline.support@nfl.com, call customer
support at (407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative at
NFL.com/subscriptionsupport, or use the online form found on your "My Account" page. Cancellation will become effective as of the
next monthly billing cycle following receipt.

(c) For NFL Preseason Live, the term begins when you purchase and ends on or around September 15), with one-time billing
immediately following your purchase. Your NFL Preseason Live subscription will automatically renew on approximately August 1 of the
next year at either the previous year's NFL Preseason Live rate or the current NFL Preseason Live rate, whichever is lower. To cancel
the annual automatic renewal feature, you can send an e-mail to preseasonlive.support@nfl.com, call customer support at (407)-936-
0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative at NFL.com/subscriptionsupport,
or use the online form found on your "My Account" page.

(d) For Subscription Products billed on a seasonal basis in Canada (e.g., NFL Game Pass – Season Plus Subscription, NFL Game
Pass – Season - Subscription, Subscription), the term begins when you purchase and ends on the last day of the NFL's Regular
Season (approximately January 1), with one-time billing immediately following your purchase. If you elected to pay in monthly
installments, you agree to pay the total cost during the term of the Subscription Product you selected in the number of equal
installments identified during your purchase. The first installment will be billed immediately upon your subscription and the remaining
number of installments will be billed on a monthly basis thereafter until your total subscription price has been paid. If you cancel your
Subscription Product before making all of the installment payments, you agree to pay the remaining unpaid balance of the Subscription
Product you selected. Your seasonal subscription will automatically renew on approximately August 1 of the next year at the previous
year's published full season rate for the applicable Subscription Product or the current year's full season rate for the applicable
Subscription Product, whichever is lower, for the entire NFL Regular Season (notwithstanding any lesser amount that you may have
paid as a result of subscribing to the Subscription Product after the start of the NFL regular season for the previous year), unless you
elect not to participate in the auto-renewal option in accordance with the applicable instructions. To cancel the annual automatic
renewal feature, you can send an e-mail to gamepass.support@nfl.com, call customer support at (407)-936-0867 between the hours of
12:00 pm and 10:00 pm ET, chat with a customer support representative at NFL.com/subscriptionsupport, or use the online form found
on your "My Account" page.

(e) For Subscription Products billed on a seasonal basis other than in Canada (e.g., NFL Audio Pass – Season Subscription, NFL
Game Rewind – Season Subscription, NFL Game Rewind – Follow Your Team Subscription, NFL Game Pass – Season Subscription,
NFL Game Pass – Follow Your Team Subscription) the term begins when you purchase and ends on the last day of the NFL's Regular
Season (approximately January 1), with one-time billing immediately following your purchase. If you elected to pay in monthly
installments, (other than for the Follow Your Team Subscription which does not have monthly installment payments as an option), you
agree to pay the total cost during the term of the Subscription Product you selected in the number of equal installments identified
during your purchase. The first installment will be billed immediately upon your subscription and the remaining number of installments
will be billed on a monthly basis thereafter until your total subscription price has been paid. If you cancel your Subscription Product
before making all of the installment payments, you agree to pay the remaining unpaid balance of the Subscription Product you
selected. Your seasonal subscription will automatically renew on approximately August 1 of the next year at either the previous year's
full season rate for the applicable Subscription Product or the current full season rate for the applicable Subscription Product,
whichever is lower.) To cancel the annual automatic renewal feature, you can send an e-mail to gamepass.support@nfl.com, call
customer support at (407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative at
NFL.com/subscriptionsupport, or use the online form found on your "My Account" page.

(f) For Subscription Products billed on an annual basis (e.g., NFL Game Pass – Season Plus Subscription, NFL Game Rewind –
Season Plus Subscription) the term begins when you purchase and ends before the start of the following year's NFL Preseason
(approximately July 31), with one-time billing immediately following your purchase. If you elected to pay in monthly installments, you
agree to pay the total cost during the term of the Subscription Product you selected in the number of equal installments identified
during your purchase. The first installment will be billed immediately upon your subscription and the remaining number of installments
will be billed on a monthly basis thereafter until your total subscription price has been paid. If you cancel your Subscription Product
before making all of the installment payments, you agree to pay the remaining unpaid balance of the Subscription Product you
selected. Your annual subscription will automatically renew on approximately August 1 of at either the previous year's full season rate
for the applicable Subscription Product or the current full season rate for the applicable Subscription Product, whichever is lower.) To
cancel the annual automatic renewal feature, you can send an e-mail to gamepass.support@nfl.com, call customer support at
(407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative at
NFL.com/subscriptionsupport, or use the online form found on your "My Account" page.

(g) For NFL Sunday Ticket Online billing is processed through the individual cable providers (Bell, Shaw Direct or Shaw). All questions
and requests should be addressed with the individual cable/satellite providers' customer service.

You can access that information at the links below:
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Bell Customers – Please visit http://www.bell.ca/NFLOnline

Shaw Direct Customers – Please visit http://www.shawdirect.ca/NFL

Shaw Customers – Please visit http://www.shaw.ca/Television/Programming/Sports/NFL-Sunday-Ticket/

SaskTel Customers - Please visit http://www.sasktel.com/search/controller/NFL-Sunday-Ticket/_/R-
Product_Services_NFL_Sunday_Ticket

(h) Your access may start with a select amount of time in which you may use the Subscription Product for free (the "Free Trial")
depending on certain promotions which may or may not be offered during the season. Subscription Products that start with a Free Trial
will be subject to all applicable fees following completion of the Free Trial unless you cancel your order in accordance with the
applicable instructions. To cancel your Free Trial or subsequent subscription, you can send an e-mail to nflnonline.support@nfl.com,
call customer support at (407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative
at NFL.com/subscriptionsupport, or use the online form found on your "My Account" page.

(i) In order to provide the highest customer satisfaction possible, we will refund the purchase price paid for any Subscription Product,
as follows:


      If you have purchased anything other than a Weekly Subscription to a Subscription Product (e.g., Season Plus Subscription,
    Season Subscription, Monthly Subscription) and:


          your access to such Subscription Product is cancelled by you within seven (7) days of the purchase date, we will
        make a reasonable effort to refund to the payment method (e.g., to your credit card) you used to subscribe to such
        Subscription Product an amount equal to the total amount you paid for access to the Subscription Products in the
        current term of your subscription less the amount of a Weekly Pass for such Subscription Product. If your access to
        such Subscription Product is cancelled by you after seven (7) days of the purchase date, you will not be eligible for a
        refund.


           your access to the Subscription Product is cancelled by us at any time, we will make a reasonable effort to refund to
        the payment method (e.g., to your credit card) you used to subscribe to such Subscription Product a prorated amount
        equal to the total amount you paid for access to the Subscription Product in the current term of your subscription times
        the fraction of the term of your subscription that remains on the date of termination, except if we allege that you have
        violated the Terms of Use, in which case you will not be eligible for a refund


       If you have purchased a Weekly Subscription to any Subscription Product you will not be entitled to any refund if your
    access to the Subscription Product is terminated.


       If you have purchased a Season Plus Subscription, Season Subscription, or Follow Your Team subscription enrolled in the
    automatic renewal feature and your access to such Subscription Product is cancelled by you within 30 days of the automatic
    renewal date, we will make a reasonable effort to refund to the payment method (e.g., to your credit card) used to subscribe to
    such Subscription Product an amount equal to the total amount you paid for access to the Subscription Product in the current
    term of your subscription.


       If you made an in-app purchase in the NFL Mobile or NFL '13 mobile applications, you may be able to obtain a refund from
    the online store where you made your purchase in accordance with the refund policies of that store.


        If we are unable to post a refund to your credit card, including because your credit card account is closed or otherwise
    unavailable when we attempt to post the refund, or if we allege that you have violated the Terms of Use, you agree that you will
    forfeit the amount due to you (if any) under this paragraph. Please note that we may not be able to post refunds for
    subscriptions that are paid for through the use of "single use" credit card numbers or similar "disposable" payment methods.
    We recommend that you do not use these payment methods to pay for your subscription to the Subscription Product; if you
    choose to use them despite our recommendation, you do so at the risk that we may not be able to provide you with a refund
    under this paragraph.


Our reasonable effort to provide you with a refund, as described above, will be your exclusive remedy if you or we terminate your
access to the Subscription Products, including in the event that you claim we breached our obligations to you.

By accepting this Agreement, you agree that we may notify you about changes to prices and/or the Subscription Products by sending
an e-mail message to your e-mail address on file with us and by publishing such notices from time to time on the informational page(s)
of the Site. It is your responsibility to notify us of any change in your e-mail address by logging in to the Site and using the online
account management tool. If your e-mail service includes functionality or software that catalogues your e-mails in an automated
manner, it is your responsibility to ensure that those e-mails we send to you reach your inbox, either by routinely monitoring your bulk,
junk and/or spam e-mail folders or by adding us to your address book or safe senders list.

3. Free Access in Select Countries

Certain Subscription Products may be offered in select countries for free with a reduced feature set and limited availability of games
and other streaming video content at various times throughout the season. Availability of free access to any or all Subscription
Products is not guaranteed and may be revoked at any time.

4. Availability

The availability of the Subscription Products may be affected by a variety of factors, including game delays or cancellations, application
of the National Football League's broadcast policy (which prohibits broadcast of football games under certain circumstances and in
                                Case 1:21-cv-01032-PAE Document 51-1 Filed 10/13/21 Page 9 of 9
certain areas), technical problems or network delays, program rescheduling, or other reasons. You agree that we are not obligated to
provide you with any specific content under this Agreement.

5. Refer-A-Friend Program

By subscribing to certain Subscription Products, you may be eligible to earn rewards for referring your friends to purchase a
Subscription Product. For full Terms & Conditions of the Refer-A-Friend program, please visit the link(s) below that correspond with the
Subscription Product(s).

NFL Game Pass – Refer-A-Friend Terms - http://www.nfl.com/help/terms/subscriptions/refer/gamepass

NFL Game Rewind – Refer-A-Friend Terms - http://www.nfl.com/help/terms/subscriptions/refer/gamerewind

NFL Preseason Live – Refer-A-Friend Terms - http://www.nfl.com/help/terms/subscriptions/refer/preseason

6. Termination

You may request that we terminate your access to any Subscription Product by e-mailing gamepass.support@nfl.com. If your access
to a Subscription Product has been terminated, you may be entitled to a refund as set forth in Section 2 above.

For all matters regarding the termination of your NFL Sunday Ticket Online account, please contact your individual cable/satellite
provider.

Bell Customers – Please visit http://tvonline.bell.ca/tvonline/servlet/CommandServlet?command=flow&processid;=36

Shaw Direct Customers – Please call customer service at 1-888-554-7827

Shaw Customers – Please call customer service at 1-888-775-3384

SaskTel Customers - Please call customer service at 1-800-773-2121




                            Information                                    Initiatives                              Media Info                                         Player Services                                More NFL Sites
                            Contact Us                                     NFL Rush                                 NFL Communications                                 NFL Health & Safety                            NFL Youth Tackle                             Pro Football Hall of Fame
                            FAQ | Rule Book                                Play 60                                  Media Kit                                          NFL Player Care                                USA Football                                 NFL Ticket Exchange
                            Public Relations                               In the Community                         Media Guides                                       Player Engagement                              NFL International                            NFL Shop
                            Jobs: League | Team                            NFL Auction                                                                                                                                NFL On Location                              NFL Women's Apparel
                            Privacy Policy                                                                                                                                                                            NFL Extra Points                             Licensing
                            Terms & Conditions



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                                     Bills           Ravens        Texans         Broncos                                 Cowboys         Bears          Falcons           Cardinals
                                     Dolphins        Bengals       Colts          Chiefs                                  Giants          Lions          Panthers          Rams
                                     Patriots        Browns        Jaguars        Raiders                                 Eagles          Packers        Saints            49ers
                                     Jets            Steelers      Titans         Chargers                                Redskins        Vikings        Buccaneers        Seahawks




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